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            NOTE: This disposition is nonprecedential.


       United States Court of Appeals
           for the Federal Circuit
                     ______________________

                       LARRY GOLDEN,
                       Plaintiff-Appellant

                                v.

         SAMSUNG ELECTRONICS AMERICA, INC.,
                   Defendant-Appellee
                 ______________________

                           2023-2120
                     ______________________

       Appeal from the United States District Court for the
    Northern District of California in No. 3:23-cv-00048-WHO,
    Judge William H. Orrick, III.
                     ______________________

                   Decided: February 12, 2024
                    ______________________

        LARRY GOLDEN, Greenville, SC, pro se.

        RICHARD L. RAINEY, Covington & Burling LLP, Wash-
    ington, DC, for defendant-appellee. Also represented by
    JAY I. ALEXANDER, BRIAN GERARD BIELUCH; HYUN SIK
    BYUN, Redwood Shores, CA; ROBERT HASLAM, MICHAEL
    MOREY, Palo Alto, CA.
                     ______________________

        Before PROST, TARANTO, and CHEN, Circuit Judges.
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    PER CURIAM.
        Larry Golden filed a complaint against Samsung Elec-
    tronics America, Inc. in the U.S. District Court for the
    Northern District of California alleging infringement by
    Samsung of U.S. Patent Nos. 10,163,287, 9,589,439, and
    9,096,189. Samsung moved to dismiss the complaint for
    failure to state a claim under Federal Rule of Civil Proce-
    dure 12(b)(6); Mr. Golden opposed Samsung’s motion and
    cross-moved for summary judgment of infringement. The
    district court granted Samsung’s motion, dismissed the
    complaint with prejudice, and denied Mr. Golden’s motion
    for summary judgment. Golden v. Samsung Electronics
    America, Inc., No. 23-cv-00048, 2023 WL 3919466 (N.D.
    Cal. June 8, 2023). Mr. Golden filed a timely appeal, which
    we have jurisdiction to decide under 28 U.S.C. § 1295(a)(1).
    We affirm.
                                 I
         Mr. Golden owns a family of patents that describe and
    claim systems for locking, unlocking, or disabling a lock
    when a detector or sensor in the system detects a chemical,
    biological, radiological, or explosive agent. See generally,
    e.g., Appx13–96. 1 Mr. Golden has previously asserted his
    patents in a variety of suits and venues against other de-
    fendants. See Golden v. Apple Inc., No. 2023-1161, 2023
    WL 3400595, at *1 (Fed. Cir. May 12, 2023) (detailing the
    history of Mr. Golden’s patent-infringement filings);
    Golden v. United States, 955 F.3d 981, 983–86 (Fed. Cir.
    2020) (same).
        Mr. Golden filed the present action in January 2023,
    alleging infringement of the ’287, ’439, and ’189 patents
    based on several of Samsung’s smartphone products.
    Appx97–129. Those patents have materially identical


        1    “Appx” refers to the appendix that Samsung filed
    in this court with its brief as appellee.
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    specifications and describe “a chemical/biological/radiolog-
    ical detector unit with a disabling locking system for pro-
    tecting products . . . and also for preventing unauthorized
    access to and tampering with the storage and transport of
    ordnance and weapons.” See, e.g., ’287 patent, col. 3, lines
    36–41. The patents explain that the claimed “multi sensor
    and lock disabling system” may “include[] a plurality of de-
    tectors” where each detector may be “adapted for and set
    up to sample for a specific agent or compound (biological,
    chemical, or radiological).” Id., col. 8, lines 31–35; see also,
    e.g., id., col. 18, lines 56–58 (claim 5 reciting the limitation
    “one or more detectors . . . for detecting at least one of
    chemical, biological, radiological, or explosive agents”).
         Mr. Golden’s complaint alleged, in part, that Sam-
    sung’s smartphones possess that claimed detector/sensor
    functionality on three alternative bases: (1) through the
    “Android Team Awareness Kit, ATAK,” which is “[b]uilt on
    the Android operating system,” involves “plug-ins” and
    “app specific software,” was “[i]nitially created” by the “Air
    Force Research Laboratory” together with the “Defense
    Threat Reduction Agency,” and is “available to warfighters
    throughout the DoD,” Appx112 ¶ 55; Appx119, 127;
    (2) through add-on devices or modifications that utilize the
    smartphone’s built-in camera, Appx111 ¶ 54, Appx124–25;
    and (3) through nine “standard sensors” which “can be used
    as ‘biosensors,’” Appx126.
         Samsung moved to dismiss Mr. Golden’s complaint, ar-
    guing that, among other things, Mr. Golden’s complaint
    failed to plausibly state a patent-infringement claim.
    Appx146–48. More specifically, Samsung argued that Mr.
    Golden’s complaint stated no alleged facts that went be-
    yond allegations that Samsung was making and selling
    smartphones that could be modified post-sale by others to
    perform the accused detector/sensor functionality. On that
    basis, Samsung said, there are no plausible allegations
    Samsung was engaged in directly infringing activities.
    Appx146–47. Nor, said Samsung, did Mr. Golden plausibly
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    allege that Samsung committed inducement or contribu-
    tory infringement, even if its smartphones were in fact
    modified by others post-sale to have the accused function-
    ality. Appx147–48.
         The district court agreed and dismissed Mr. Golden’s
    complaint with prejudice, concluding, in part, that “[t]he
    allegations that his patents cover the identified functional-
    ities included in Samsung’s products are wholly unsup-
    ported and implausible on their face.” Golden, 2023 WL
    3919466, at *2. Mr. Golden filed a motion for reconsidera-
    tion, which was denied. Appx10. Mr. Golden then timely
    appealed. Appx10.
                                  II
        We apply regional circuit law on the standard for re-
    view of a Rule 12(b)(6) dismissal, In re Bill of Lading
    Transmission & Processing System Patent Litigation, 681
    F.3d 1323, 1331 (Fed. Cir. 2012), and that standard is re-
    view without deference under Ninth Circuit law, Decker v.
    Advantage Fund Ltd., 362 F.3d 593, 595–96 (9th Cir. 2004).
    To survive a motion to dismiss under Rule 12(b)(6), a com-
    plaint must state “well-pleaded facts, not legal conclusions,
    that ‘plausibly give rise to an entitlement to relief.’” Whit-
    aker v. Tesla Motors, Inc., 985 F.3d 1173, 1176 (9th Cir.
    2021) (citations omitted) (first citing Bell Atlantic Corp. v.
    Twombly, 550 U.S. 544, 570 (2007); and then quoting Ash-
    croft v. Iqbal, 556 U.S. 662, 679 (2009)). “[A] pro se com-
    plaint . . . must be held to ‘less stringent standards than
    formal pleadings drafted by lawyers.’” Estelle v. Gamble,
    429 U.S. 97, 106 (1976) (quoting Haines v. Kerner, 404 U.S.
    519, 520–21 (1972)). “However, a pro se plaintiff must still
    meet minimal standards to avoid dismissal under Rule
    12(b)(6).” Ottah v. Fiat Chrysler, 884 F.3d 1135, 1141 (Fed.
    Cir. 2018). We reject Mr. Golden’s appeal arguments and
    therefore affirm the district court’s dismissal of his com-
    plaint.
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         Mr. Golden argues that this court’s prior holding that
    a different complaint of his—filed in a separate proceeding
    against Google in the District of South Carolina but alleg-
    ing infringement of the same patents—was “not facially
    frivolous,” Golden v. Apple Inc., No. 2022-1229, 2022 WL
    4103285, at *2 (Fed. Cir. Sept. 8, 2022), precluded the dis-
    trict court’s dismissal of his complaint for failure to state a
    claim in this proceeding, Golden Informal Opening Br. at
    14–22. We disagree.
         Although we previously held that Mr. Golden’s com-
    plaint against Google in a separate proceeding was “not fa-
    cially frivolous,” Golden, 2022 WL 4103285, at *2, we also
    stated that “[o]ur decision does not preclude subsequent
    motions to dismiss by the defendant for failure to state a
    claim,” and we “express[ed] no opinion as to the adequacy
    of the complaint.” Id. Our prior holding that Mr. Golden’s
    complaint—alleging patent-infringement claims against
    Google, not Samsung, based on Google’s products, not Sam-
    sung’s—was not facially frivolous does not answer the
    question of the sufficiency of Mr. Golden’s complaint
    against Samsung in this proceeding. The district court did
    not err by so determining. Golden, 2023 WL 3919466, at
    *2 n.6. See also Golden v. Qualcomm Inc., No. 2023-1818,
    2023 WL 6561044, at *2 (Fed. Cir. Oct. 10, 2023) (rejecting
    a similar contention by Mr. Golden).
        On the merits of the district court’s infringement-alle-
    gation analysis, also challenged by Mr. Golden, see Golden
    Informal Opening Br. at 27; Golden Informal Reply Br. at
    9, we also see no reversible error. Mr. Golden’s complaint
    does not plausibly allege that Samsung itself has commit-
    ted any of the acts specified in 35 U.S.C. § 271(a), as the
    factual allegations plausibly show, at the most, only that
    Samsung-made-and-sold smartphones could be modified
    post-sale by others. There is no plausible allegation that
    Samsung itself is making, selling (or offering to sell), using,
    or importing smartphones that have the claimed detec-
    tor/sensor functionality, either literally or by equivalents.
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    And without such a plausible allegation, Mr. Golden has
    presented no basis for survival of the complaint.
        Mr. Golden’s complaint may be understood to allege
    three ways the accused products practice the detector/sen-
    sor functionality, but each is deficient for infringement
    even at the pleading stage. Regarding ATAK, the com-
    plaint itself indicates that plugins and app-specific soft-
    ware, not developed by Samsung and only available
    “throughout the DoD,” are required for the accused detec-
    tor/sensor functionality. Appx112 ¶ 55; Appx119, 127. Re-
    garding Samsung’s built-in cameras, the complaint relies
    on proof-of-concept articles that support nothing more than
    that, through post-sale add-on devices or modifications,
    commercially available smartphones could one day con-
    ceivably perform the accused detector/sensor functionality.
    Appx124–25, 1716–21.
        Finally, regarding the complaint’s statement, without
    elaboration, that “standard sensors” “can be used as ‘bio-
    sensors’”: That statement on its face does not assert that
    “standard sensors” can be so used without add-ons; it is not
    included in Mr. Golden’s claim charts; and in any event it
    is wholly conclusory. Appx126 (emphasis added); see
    Appx119, 124. This lone statement, lacking any concrete
    specifics, fails to satisfy basic pleading standards for, as
    relevant here, plausibly alleging that any of Samsung’s
    smartphones, as made and sold by Samsung, i.e., without
    any addition of hardware or software, contain “biosensors”
    that perform the claimed sensing/detecting of hazardous
    agents. See Bot M8 LLC v. Sony Corp. of America, 4 F.4th
    1342, 1353 (Fed. Cir. 2021) (“[A] plaintiff cannot assert a
    plausible claim for infringement . . . by reciting the claim
    elements and merely concluding that the accused product
    has those elements. There must be some factual allega-
    tions that, when taken as true, articulate why it is plausi-
    ble that the accused product infringes the patent claim.”).
    The failure is particularly apparent in light of the articles
    that Mr. Golden’s complaint cites for the proposition that
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    cell phone cameras might, one day, be modified to perform
    the accused detector/sensor functionality, Appx1716–21.
    Cf. Bot M8, 4 F.4th at 1354 (“Where, as here, the factual
    allegations are actually inconsistent with and contradict in-
    fringement, they are likewise insufficient to state a plausi-
    ble claim.”).
        In short, Mr. Golden’s allegations, even if true, at best
    establish that Samsung’s smartphones might be modified
    post-sale to perform the accused detector/sensor function-
    ality, which is not enough for direct infringement on the
    claims here. See High Tech Medical Instrumentation, Inc.
    v. New Image Industries, Inc., 49 F.3d 1551, 1555 (Fed. Cir.
    1995) (“[A] device does not infringe simply because it is pos-
    sible to alter it in a way that would satisfy all the limita-
    tions of a patent claim.”). And Mr. Golden’s complaint does
    not allege facts plausibly showing that Samsung had the
    knowledge and intent regarding its customers’ activities
    for Samsung to be liable for inducement under 35 U.S.C.
    § 271(b). See Bill of Lading, 681 F.3d at 1339; Appx108–
    129. Likewise missing are allegations of facts plausibly
    showing (contrary to the complaint’s own allegations) that
    Samsung’s smartphones have “no substantial noninfring-
    ing uses,” as required to establish contributory infringe-
    ment under 35 U.S.C. § 271(c). Fujitsu Ltd. v. Netgear Inc.,
    620 F.3d 1321, 1326 (Fed. Cir. 2010).
        Mr. Golden argues, in his reply brief, that the district
    court, in conducting its analysis of the complaint, improp-
    erly reduced the scope of his inventions to a single, gener-
    alized claim limitation. Golden Informal Reply Br. at 13.
    But this allegation about the district court’s analysis is no
    substitute for Mr. Golden’s task on appeal—to focus di-
    rectly on the complaint and demonstrate its sufficiency, a
    matter we decide de novo on appeal. In any event, we dis-
    agree with Mr. Golden’s allegation about what the district
    court did.
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        In the district court’s statement that Mr. Golden ap-
    pears to challenge, the court merely summarized, at a high
    level, the subject matter of Mr. Golden’s patents. Golden,
    2023 WL 3919466, at *1 & n.2. The court then went on to
    analyze the legal sufficiency of Mr. Golden’s specific in-
    fringement allegations as stated in his complaint. It was
    on that basis that the court concluded that “[t]he allega-
    tions that his patents cover the identified functionalities
    included in Samsung’s products are wholly unsupported
    and implausible on their face.” Id. at *2. There was no
    improper narrowing.
        For the foregoing reasons, we conclude that Mr. Golden
    has shown no error in the district court’s determination
    that his complaint insufficiently alleged infringement.
    That conclusion suffices to affirm the dismissal of the com-
    plaint. We need not address the district court’s alternative
    ground for dismissal—that Mr. Golden’s suit against Sam-
    sung was precluded because Mr. Golden had already un-
    successfully asserted the same patent-infringement claims
    against the United States based on materially the same
    Samsung products. See Golden, 2023 WL 3919466, at *2 &
    n.7 (discussing Golden v. United States, 156 Fed. Cl. 623
    (2021), aff’d, No. 2022-1196, 2022 WL 4103287 (Fed. Cir.
    Sept. 8, 2022)).
                                III
        The dismissal of Mr. Golden’s complaint is affirmed.
        The parties shall bear their own costs.
                           AFFIRMED
